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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


Top Tobacco, L.P., et al.,

                           Plaintiffs,
                                           Case No. 1:19-cv-4939-MLB
v.

Star Importers & Wholesalers,
Inc., et al.,

                           Defendants.

________________________________/

                                    ORDER

          A jury awarded Plaintiffs statutory damages under the Lanham Act

for Defendants’ non-willful infringement of Plaintiffs’ trademarks.

Defendants move—in two separate motions—for judgment as a matter of

law, asking the Court to find the damages award excessive, or

alternatively, to reduce the award or grant a new trial. (Dkts. 363; 364.)

Plaintiffs oppose. (Dkt. 364.) The Court denies Defendants’ motions.

     I.     Background

          Plaintiffs sued Defendants claiming they violated the Lanham Act

by infringing on Plaintiffs’ trademarks related to tobacco rolling papers.
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(Dkt. 88.) The Court granted Plaintiffs summary judgment on the issue

of liability, concluding Defendants sold counterfeit rolling papers bearing

Plaintiffs’ marks. (Dkt. 236.) This left three questions for the jury to

answer at trial: (1) whether Defendants acted willfully, (2) the amount of

damages, and (3) fees. (Dkt. 236 at 50.)

        After seven days of trial, a jury found Defendants did not act

willfully. (Dkts. 319; 320.) It awarded Plaintiffs statutory damages in

the amount of $2.3 million—$1,107,000 against Defendants Star

Importers & Wholesalers, Inc. and Amin S. Hudda (the “Star

Defendants”), and $1,242,000 against Defendants Ziya Business Inc.

d/b/a ZCell & Novelties and Samadali Lakhani (the “ZCell Defendants”).

(Dkts. 319; 320.) These amounts represent $123,000 per trademark the

Star Defendants infringed and $138,000 per trademark the ZCell

Defendants infringed. (Dkts. 319; 320.)

  II.     Discussion

        Defendants say they are entitled to judgment as a matter of law

because the jury’s damages award is not sufficiently supported by the

evidence and it violates their due process rights. (Dkts. 363 at 9–24; 364

at 6–20.) They ask, in the alternative, for the Court to order remittitur



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and reduce the damages award or order a new trial on damages. (Dkts.

363 at 25; 364 at 20.) Plaintiffs say the evidence supports the jury’s

award and it does not violate Defendants’ due process rights, particularly

because the award is within the Lanham Act’s statutory range for

damages for non-willful violations. (Dkt. 364 at 13–24.)1 They also say

Defendants are not entitled to remittitur or a new trial because the jury

did not commit clear error and the verdict is not so excessive as to shock

the conscience. (Dkt. 364 at 24–31.)

        A.    Judgment As a Matter of Law

     Rule 50 of the Federal Rules of Civil Procedure permits a party to

move for judgment as a matter of law. Fed. R. Civ. P. 50. “A judgment

as a matter of law is warranted only ‘[i]f during a trial by jury a party

has been fully heard on an issue and there is no legally sufficient

evidentiary basis for a reasonable jury to find for that party on that

issue.’” London v. Fieldale Farms Corp., 410 F.3d 1295, 1301 (11th Cir.

2005) (citation omitted). “In considering whether the verdict is supported




1 Because it includes a cover page, table of contents, and table of
authorities, the page numbers of Plaintiffs’ brief do not match the
pagination of the CM/ECF system. For ease of reference, when citing
Plaintiffs’ brief, the Court uses the CM/ECF page numbers.

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by sufficient evidence, ‘the court must evaluate all the evidence, together

with any logical inferences, in the light most favorable to the non-moving

party.’” McGinnis v. Am. Home Mortg. Serv., Inc., 817 F.3d 1241, 1254

(11th Cir. 2016) (citation omitted). “‘[I]t is the jury’s task—not [the

court’s]—to weigh conflicting evidence and inferences, and determine the

credibility of witnesses.’” Id. (quoting Shannon v. Bellsouth Telecomms.,

Inc., 292 F.3d 712, 715 (11th Cir. 2002)).

              1.    Waiver

     As an initial matter, Plaintiffs contend Defendants waived their

right to move for judgment as a matter of law on the damages issue

because they “did not raise a Rule 50(a) challenge to damages before the

case was submitted to the jury.” (Dkt. 364 at 12.) Defendants say they

moved under Rule 50(a) for a directed verdict on, among other things, the

sufficiency of the evidence proving their willfulness—an issue that is

closely tied to the issue of damages. (Dkts. 374 at 4; 375 at 4.) Plus,

Defendants say, Plaintiffs were not surprised or confused about the

grounds for their Rule 50(b) motion. (Dkts. 374 at 4–5; 375 at 4–5.)

     Rule 50(a) allows a party to move for judgment as a matter of law

“before the case is submitted to the jury.” Fed. R. Civ. P. 50(a)(2). If that



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motion is denied, the party may file “a renewed motion” after trial under

Rule 50(b). Fed. R. Civ. P. 50(b). “A Rule 50(b) motion is a renewal of a

Rule 50(a) motion.” Doe v. Celebrity Cruises, Inc., 394 F.3d 891, 903 (11th

Cir. 2004). So, “[i]f a party asserts new grounds in its renewed motion

for judgment as a matter of law that it did not assert in its initial motion

for judgment as a matter of law, a court ‘may not rely on the new grounds

to set aside the jury’s verdict.’” Shannon, 292 F.3d at 717 n.3 (citation

omitted).

     The Eleventh Circuit has long “‘taken a liberal view of what

constitutes a motion for [judgment as a matter of law].’” McGinnis, 817

F.3d at 1261 (quoting Nat’l Indus., Inc. v. Sharon Steel Corp., 781 F.2d

1545, 1549 (11th Cir. 1986)). Courts will not find a party has waived an

issue by not raising it in an initial motion for judgment as a matter of law

if the issue is “‘closely related’ to those raised in an initial [] motion.”

McGinnis, 817 F.3d at 1261. This is because “[i]f the grounds argued in

a motion under Rule 50(a) are ‘closely related’ to those argued in a Rule

50(b) motion, then setting aside a jury’s verdict is no surprise to the non-

movant.” Id. (citation omitted); see also Howard v. Walgreen Co., 605

F.3d 1239, 1243 (11th Cir. 2010) (“So long as [the issues] are ‘closely



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related’ such that opposing counsel and the trial court may be deemed to

have notice of the deficiencies asserted by the moving party, the purposes

of [Rule 50] will be satisfied.”).

      At trial, counsel for the Star Defendants moved “under Rule 50 as

a matter of law as to willfulness[.]” (Dkt. 354 at 1451:17–19.) The Court

told counsel for both the Star Defendants and the ZCell Defendants they

had thus “reserved” that issue for a renewed motion.         (Dkt. 354 at

1451:22–24.) Although Defendants didn’t use the term “damages,” a

defendant’s willful infringement triggers enhanced statutory damages

under the Lanham Act.         15 U.S.C. § 1117(c)(1)–(2).   And Plaintiffs

concede that the issues of willfulness and damages are basically

inextricable. (Dkt. 373 at 38 (arguing Defendants cannot dissect issues

of willfulness from damages if given a new trial because “‘willfulness is a

damages issue, not a liability issue’”) (quoting Robert Bosch LLC v. Pylon

Mfg. Corp., 2009 WL 2742750, at *1 (D. Del. 2009).)         So, the Court

concludes the issues of willfulness and damages are so closely related

that Defendants’ initial motion preserved the damages issue.

      Not only that, but Plaintiffs were not “ambushed” or “sandbagged”

by Defendants’ moving on the issue of damages. See McGinnis, 817 F.3d



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at 1261 (noting purpose of Rule 50 is to prevent unfair surprise to non-

movant). The parties argued extensively about how to present the issue

of damages in the jury instructions, including Defendants’ insistence the

Court tell the jury that the damages award “should not constitute a

windfall for the Plaintiffs” and that any damages award should thus

“bear some relationship to actual damages.”       (Dkt. 353 at 1254:13–

1258:21.) Clearly, Plaintiffs were “not ambushed” by this argument now.

See Splitt v. Deltona Corp., 662 F.2d 1142, 1144–45 (5th Cir. 1981)

(counsel for plaintiff was “not ambushed” where defendant “had argued

strenuously against a jury instruction” regarding the pertinent issue,

such that “Rule 50’s purpose [was] served” and defendant’s right to move

for judgment as a matter of law on that issue “was properly preserved”).

     Defendants did not waive their right to argue the issue of damages

in their renewed motions.

              2.   Sufficiency of the Evidence

     Defendants say they are entitled to judgment as a matter of law

because the evidence presented at trial was not sufficient to support the

jury’s damages award. (Dkts. 363-1 at 9; 364 at 14.) Specifically, they

point to factors the jury had to consider in assessing its damages award



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and argue the evidence weighs strongly in favor of a lower damages

award than the jury selected.     (Dkts. 363-1 at 9–17; 364 at 14–19.)

Plaintiffs say the damages award must survive because the law expressly

permits it and because the evidence supports the jury’s assessment.

(Dkt. 373 at 6–13.)

     Defendants’ burden is high.        “A federal court has no general

authority to reduce the amount of a jury’s verdict.”          Johansen v.

Combustion Eng’g, Inc., 170 F.3d 1230, 1328 (11th Cir. 1999). “The

Seventh Amendment prohibits re-examination of a jury’s determination

of the facts, which includes its assessment of the extent of plaintiff’s

injury.” Id. “[I]t is not the function of the Court to make credibility or

factual determinations under the guise of Rule 50 review.” Peer v. Lewis,

2008 WL 2047978, at *4 (S.D. Fla. May 13, 2008). So, a court cannot

“according to its own estimate of the amount of damages which the

plaintiff ought to have recovered, . . . enter an absolute judgment for any

other sum than that assessed by the jury.” Johansen, 170 F.3d at 1328.

Rather, to vacate or reduce a jury’s award under Rule 50, the Court must

find that “‘the facts and inferences point so strongly and overwhelmingly

in favor of [the movant] that the Court believes that reasonable men [or



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women] could not arrive at a contrary verdict.’” United States v. Vahlco

Corp., 720 F.2d 885, 889 (5th Cir. 1983) (citation omitted).

      Defendants do not argue the jury erred in awarding statutory

damages. Rather, they quarrel only with the amount of the damages.

But the Lanham Act expressly permits the jury’s damages award. 15

U.S.C. § 1117(c)(1) (non-willful infringement may result in “not less than

$1,000 or more than $200,000 per counterfeit mark per type of goods or

services”).   And it would make no sense to call those damages

impermissible when, by the terms of the statute, when a plaintiff elects

to recover statutory damages, those damages “are the civil penalties

authorized.” Capitol Recs., Inc. v. Thomas-Rasset, 692 F.3d 899, 908 (8th

Cir. 2012) (emphasis in original). This is not a case where the jury has

committed a “legal error,” or “where a portion of [the] verdict is for an

identifiable amount that is not permitted by law.” Johansen, 170 F.3d at

1330. The jury did exactly what the law allows it to do. Defendants

merely disagree with the jury’s “determination of the facts”—something

the Court cannot second-guess. Id.

      In arguing to the contrary, Defendants emphasize that the damages

award bears little relation to Plaintiffs’ purported actual damages. (Dkts.



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363-1 at 10–17; 14–19.) It’s true that Plaintiffs’ actual damages are one

factor relevant to the jury’s assessment. See Ghost Controls, LLC v.

Gate1Access LLC, 2020 WL 8309717, at *5 (M.D. Fla. Oct. 16, 2020). It’s

also true that statutory damages should not provide a “windfall” to the

plaintiff.   Id.   But the Lanham Act “authorize[s] statutory damages

unrelated to losses or gains.” Bucklew v. Hawkins, Ash, Baptie & Co.,

LLP, 329 F.3d 923, 931 (7th Cir. 2003). So, “[i]t is not necessary for an

award of statutory damages to have a correlation to the actual

damages[.]” Greenberg v. Nat’l Geographic Soc.¸2005 WL 8156192, at *4

(S.D. Fla. Sept. 30, 2005); see also H-D U.S.A., LLC v. SunFrog, LLC, 311

F. Supp. 3d 1000, 1047 (E.D. Wisc. 2018) (“Actual profits or losses can be

relevant in the wide-ranging search for a just damages award, but it must

be remembered that the Lanham Act gives plaintiffs in counterfeiting

cases the option to seek statutory damages instead of actual damages. . .

. Many courts have rejected the plea that the infringer’s actual profits

were fairly low.”). Indeed, “statutory damages are not meant to be merely

compensatory or restitutionary [but] also to discourage wrongful

conduct.” Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 113 (2d Cir.

2001); see also F.W. Woolworth Co. v. Contemp. Arts, Inc., 344 U.S. 228,



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233 (1952) (“The statutory rule . . . is designed to discourage wrongful

conduct. . . . Even for uninjurious and unprofitable invasions of copyright

the court may, if it deems it just, impose a liability within statutory limits

to sanction and vindicate the statutory policy.”). It would make little

sense to require a particular ratio of statutory damages to actual

damages when the Lanham Act allows a jury to award damages, not just

to compensate, but to deter misconduct. It would also make little sense

to require a particular ratio when the statute expressly recognizes that

actual damages in counterfeiting cases can be “difficult to measure with

economic precision.” Raffel Systems, LLC v. Man Wah Holdings LTD,

Inc., 2023 WL 3375853, at *7 (E.D. Wisc. May 11, 2023).

      While Defendants focus primarily on the ratio between the jury’s

damages award to Plaintiffs’ purported actual damages, there are several

other factors the jury must consider in awarding statutory damages:

      (1) the infringer’s state of mind; (2) the expenses saved, and
      profits earned, by the infringer; (3) the revenue lost by the
      copyright holder; (4) the deterrent effect on the infringer and
      third parties; (5) the infringer’s cooperation in providing
      evidence concerning the value of the infringing material; and
      (6) the conduct and attitude of the parties.

Psihoyos v. John Wiley & Sons, Inc., 748 F.3d 120, 126 (2d Cir. 2014); Ill.

Tool Works Inc. v. Hybrid Conversions, Inc., 817 F. Supp. 2d 1351, 1355


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(N.D. Ga. 2011). The Court told the jury as much. Importantly, it also

told the jury that its award “should bear some relationship to the actual

damages suffered by the plaintiff and in consideration of the other

factors.” (Dkt. 354 at 1467:6–25.) So, there is no reason to think the jury

didn’t consider Plaintiffs’ actual damages along with the other factors in

assessing its award. See Midlevel U, Inc. v. ACI Info. Grp., 989 F.3d 1205,

1218 (11th Cir. 2021) (the Eleventh Circuit “presume[s] that a jury

follows its instructions”).

      And the jury heard plenty of evidence about the other factors,

including: the high value of the marks Defendants infringed, including

their continuous use for more than 100 years, the amount Plaintiffs spent

on advertising those brands, and the extensive anti-counterfeiting efforts

Plaintiffs expend to protect them (Dkt. 350 at 143:2–148:9); the extent of

Defendants’ counterfeiting activity, including evidence they may have

sold greater quantities of infringing products than they admitted based

on the number of products seized and the volume of products Defendants

bought from infringing wholesalers (Dkts. 336-33; 336-34; 336-55; 350 at

260:3–21, 281:9–22; 353 at 1044:25–1045:11, 1243:11–1244:6); financial

and sales information from Defendants from which the jury could



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conclude they made significant money from the sale of counterfeit

products (Dkts. 354 at 1331:19–24; 331-5; 336-20; 336-21; 336-22); how

the counterfeit products contained “unknown” ingredients, meaning they

did not comply with Plaintiffs’ quality standards or regulatory

requirements and could have caused a risk to public safety or

reputational harm (Dkt. 350 at 295:2–297:24); and Defendants’ size and

influence in the wholesale market, insistence they could have done

nothing more to prevent counterfeiting in the future, and belief they had

done nothing wrong (Dkts. 352 at 906:17–907:16, 933:25–934:22; 353 at

1017:16–1018:22; 354 at 1369:2–1374:20). While Defendants squabble

with how much that evidence was worth, their arguments ultimately boil

down to mere disagreement with how the jury applied that evidence to

the factors it considered in assessing the damages award. But the jury

had “‘wide discretion’” in reaching that award, and was “‘constrained only

by the specified [statutory] maxima and minima.’” Cable/Home Commc’n

Corp. v. Network Prods., Inc., 902 F.2d 829, 852 (11th Cir. 1990). There

was sufficient evidence to support the jury’s award.

     In arguing otherwise, Defendants cite several counterfeiting cases

“in which trademark defendants blatantly, willfully infringed the



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plaintiffs’ trademarks, . . . and were issued far lower verdicts on default

judgments than the one in this case.” (Dkts. 363-1 at 17–18; 364 at 7–

13.) Those cases are unavailing. First, statutory damages awards “are

all over the map, and perhaps rightly so, since the award is meant to be

tailored to the facts of the case at hand.” SunFrog, 311 F. Supp. 3d at

1048. “This Court’s role is not to ‘average the high and low awards [but

to] focus instead on whether the verdict lies within the reasonable

range.’” John Wiley & Sons, 327 F. Supp. 3d at 635 (quoting Zeno v. Pine

Plains Cent. Sch. Dist., 702 F.3d 655, 671 (2d Cir. 2012)). Second, as

Defendants concede, most of the cited cases were decided on default

judgment—none involved a jury award.          And some involved higher

awards per mark than the verdict in this case. See, e.g., Volkswagen Grp.

of Am. v. Varona, 2021 WL 1997573, at *15 (S.D. Fla. May 18, 2021)

(awarding $304,613.55 per mark); Anthem Indus., LLC v. Dawson, 2017

WL 6996371, at *4 (N.D. Ga. Oct. 31, 2017) (awarding $500,000 per

mark). In others, the “lower” awards were for amounts exactly requested

by the plaintiffs. See, e.g., Estate of Marilyn Monroe LLC v. 3D Home,

2022 WL 1715963, at *5 (N.D. Ga. Mar. 22, 2022); Kason Indus. v. L & T

Rest. Equip., 2019 WL 9633211, at *9 (N.D. Ga. Dec. 17, 2019). In any



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event, the statutory damages awarded in those cases do not persuade the

Court that the jury’s award in this case “is so excessive that the Court

should intrude on [the jury’s] prerogative to set damages.” Agence France

Presse v. Morel, 2014 WL 3963124, at *15 (S.D.N.Y. Aug. 13, 2014) (citing

Feltner v. Columbia Pictures Television, Inc., 523 U.S. 340, 347–55

(1998)).

              3.    Due Process

     Defendants say the damages award violates their right to due

process because it is “so severe and oppressive as to be wholly

disproportioned to the offense and obviously unreasonable,” particularly

because it is much higher than what they claim are Plaintiffs’ actual

damages. (Dkts. 363-1 at 24–25; 364 at 20.) Plaintiffs say because the

damages award is within the statutory range, it does not violate

Defendants’ constitutional rights. (Dkt. 373 at 20–23.)

     Due process prohibits excessive damages because “‘[e]lementary

notions of fairness enshrined in our constitutional jurisprudence dictate

that a person receive fair notice . . . of the severity of the penalty that a

State may impose.’” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.

408, 417 (2003) (citation omitted). “This concern about fair notice does



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not apply to statutory damages, because those damages are identified

and constrained by the authorizing statute.” Thomas-Rasset, 692 F.3d at

907. The only time a statutory damages award violates due process is

where the penalty prescribed is “‘so severe and oppressive as to be wholly

disproportioned to the offense and obviously unreasonable.’”       Zomba

Enters., Inc. v. Panorama Records, Inc., 491 F.3d 574, 587 (6th Cir. 2007)

(quoting St. Louis, I.M. & S. Ry. Co. v. Williams, 251 U.S. 63, 66–67

(1919)).   “This review, however, is extraordinarily deferential—even

more so than in cases applying abuse-of-discretion review.”        Zomba

Enters., 491 F.3d at 587.

     Defendants give their due process arguments short shrift. The Star

Defendants say only that the jury’s award is unconstitutionally

disproportionate to their conduct, which caused much lower actual

damages to Plaintiffs. (Dkts. 363-1 at 25.) And the ZCell Defendants say

the award is unconstitutionally disproportionate to the revenues and

profits they made from sales of the infringing products. (Dkt. 364 at 20.)

     First, the Supreme Court has long made clear that the

constitutional inquiry does not require that statutory damages be

tethered to actual damages.      See Williams, 251 U.S. at 66 (giving



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statutory penalty to aggrieved party does not “require that it be confined

or proportioned to his loss or damages”). This is because such a damages

award is “imposed as a punishment for the violation of a public law,” such

that “the Legislature may adjust its amount to the public wrong rather

than the private injury, just as if it were going to the state.”         Id.

Vindicating trademark rights has long been considered a public interest.

See Amoskeag Mfg. Co. v. D. Trainer & Sons, 101 U.S. 51, 62 (1879). And

statutory damages are by definition a substitute for unproven or

unprovable actual damages. Cable/Home Commc’n, 902 F.2d at 850.

     Second, Defendants ignore that several other policy goals are baked

into the statutory damages analysis rather than mere restitution.

Statutory damages are also designed to discourage wrongful conduct.

Chanel, Inc. v. French, 2006 WL 3826780, at *2 n.2 (S.D. Fla. Dec. 27,

2006) (“‘While § 1117(c) looks to compensatory considerations (e.g., actual

losses and trademark value), it also looks to punitive considerations (e.g.,

deterrence of other infringers and redress of wrongful defense conduct).’”)

(quoting Sara Lee Corp. v. Bags of N.Y., Inc., 36 F. Supp. 2d 161, 165

(S.D.N.Y. 1999)). Just because Defendants’ conduct was not willful does




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not mean it was innocent—punishment and deterrence could have

factored into the jury’s award.

     Based on the evidence, the jury determined a significant award per

mark was appropriate, but exercised its considerable discretion to stay

below the statutory maximum. The Court concludes its award is not “so

severe and oppressive” in relation to Defendants’ conduct “as to be . . .

obviously unreasonable.” Williams, 251 U.S. at 67–68; see also Centerline

Equip. Corp. v. Banner Pers. Serv., Inc., 545 F. Supp. 2d 768, 777 (N.D.

Ill. 2008) (rejecting argument that 30,000:1 ratio between statutory

damages and actual harm violated due process because “[t]here is no

requirement that the statutory remedy be proportional to the plaintiff’s

own injury” and “Congress may choose an amount that reflects the injury

to the public as well as to the individual”).

        B.    Remittitur And New Trial

     Defendants alternatively ask that the Court order remittitur and

reduce the jury’s damages award or order a new trial on only the damages

issue. (Dkts. 363-1 at 25; 364 at 20.) Plaintiffs say Defendants are not

entitled to a remittitur or new trial because the evidence supports the

jury’s award. (Dkt. 364 at 18–38.)



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     Rule 59 permits a party to move for a new trial or to alter or amend

a judgment after its entry. Fed. R. Civ. P. 59. Rule 59(a) governs a

party’s request for a new trial and a court’s power to order remittitur

stems from this authority. Johansen, 170 F.3d at 1328. This power

allows “[a] court which believes the jury’s verdict is excessive” to “order a

new trial unless the plaintiff agrees to remit a portion of the jury’s

award.” Id. In making this decision, “[t]he Court is not to substitute its

judgment for the jury’s, and where there is sufficient evidence in the

record to support the award, the Court should not reduce the award

merely because it would have found differently.” Stone v. GEICO Gen.

Ins. Co., 2009 WL 3720954, at *2 (M.D. Fla. Nov. 5, 2009) (emphasis in

original). A court may not grant a Rule 59 motion unless “the verdict is

against the great—not merely the greater—weight of the evidence.” Ins.

Co. of N. Am. V. Valente, 933 F.2d 921, 923 (11th Cir. 1991). When

determining whether the evidence supports the verdict, courts ask

“whether the verdict was ‘clearly within the universe of possible awards

which are supported by the evidence.’” Narcisse v. Ill. Cent. Gulf R.R.

Co., 620 F.2d 544, 547 (5th Cir. 1980) (citation omitted). When the jury’s

verdict is “within the bounds of possible awards supported by the



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evidence, its award should not be disturbed.” Carter v. DecisionOne

Corp., 122 F.3d 997, 1006 (11th Cir. 1997).

     The Court already concluded sufficient evidence supports the jury’s

award. And the fact that the jury’s award falls in the express statutory

range demonstrates that it is within the universe of possible awards.

Rule 59 does not “grant a license to the [Court] merely to substitute [its]

judgment for that of the jury on questions of fact.” Ard v. Sw. Forest

Indus., 849 F.2d 517, 520 (11th Cir. 1988). And the jury’s determinations

of fact here included “its assessment of the extent of [Plaintiffs’] injury.”

Peer, 2008 WL 2047978, at *4. The Court declines to reduce the damages

award or order a new trial on damages. See McGinnis, 817 F.3d at 1257

(declining to reduce damages award or grant new trial where evidence

did not “overwhelmingly” favor movant and verdict was not “against the

clear weight of the evidence”) (internal quotation marks and citations

omitted).

  III. Conclusion

     The Court DENIES the Star Defendants’ Motion for Judgment As

a Matter of Law Pursuant to Rule 50(b), Or In The Alternative, to Alter

or Amend the Judgment Pursuant to Rule 59(e) (Dkt. 363) and the ZCell



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Defendants’ Renewed Motion for Judgment As a Matter of Law Or,

Alternatively, For Alteration Or Amendment Judgment, For Grant of

Remittitur, And/Or For New Trial On Damages (Dkt. 364).

     SO ORDERED this 20th day of February, 2024.




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